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    5   Attorney for Plaintiff, KEYA MORGAN
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    7                         IN THE UNITED STATES DISTRICT COURT
    8                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
    9                             WESTERN DIVISION - LOS ANGELES
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         KEYA MORGAN,                                USDC # 2:20-cv-04557-FMO-JPR
   12
                             Plaintiff,              Before the Honorable Fernando M. Olguin
   13
         vs.
   14
         AVATAR PRESS, INC., an Illinois             ORDER GRANTING MOTION
   15    corporation; RICH JOHNSTON, an              FOR LEAVE OF COURT TO
         individual; and DOES 1 through 10,          WITHDRAW AS COUNSEL FOR
   16    inclusive,                                  PLAINTIFF; DECLARATION OF
                                                     BARUCH C. COHEN
   17                      Defendants.

   18                                                Date: 10-08-2020
                                                     Time: 10:00 am
   19                                                Place: 350 W 1st Street, Los Angeles, CA
                                                     Courtroom 6D
   20

   21
                     Attorney Baruch C. Cohen, seeks to withdraw as counsel for Plaintiff Keya
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        Morgan, in the above-captioned litigation pursuant to Cal. R. Prof. Conduct 3-700,
   23
        now Rule 1.16. As this Court finds that Mr. Cohen has submitted satisfactory
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        reasoning for withdrawal, and that the granting of his Motion will not cause
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        substantial prejudice or delay to any party,
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                     IT IS HEREBY ORDERED that Baruch C. Cohen’s Motion to Withdraw as
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        9/8-5:18pm
Case 2:20-cv-04557-FMO-JPR Document 19-1 Filed 09/08/20 Page 2 of 2 Page ID #:130



    1   Counsel for Plaintiff is GRANTED, and Baruch C. Cohen is hereby terminated as
    2   counsel for Plaintiff in this proceeding.
    3                IT IS SO ORDERED.
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    7   DATED:________________                  By:________________________________
                                                   Honorable Fernando M. Olguin
    8                                              United States District Court
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